Case 1:22-cv-22538-RKA Document 8 Entered on FLSD Docket 08/31/2022 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-cv-22538-ALTMAN/Reid

 PIERCE ROBINSON, et al.,

         Plaintiffs,
 v.

 MARK CUBAN, et al.,

       Defendants.
 _________________________________________/

                                                 ORDER

         On August 26, 2022, two of the three Defendants—Mark Cuban (“Cuban”) and Dallas

 Basketball Limited d/b/a Dallas Mavericks (the “Mavericks”)—moved for an extension of time to

 respond to the Plaintiffs’ Complaint. See [ECF No. 7] (the “Motion”). They filed the Motion even

 though there isn’t yet a deadline to respond to the Complaint. And there is no such deadline because

 the Plaintiffs haven’t yet served the third Defendant (Stephen Ehrlich). See generally Docket; see also

 Order in Cases with Multiple Plaintiffs and Defendants [ECF No. 4] (“The time for responsive

 pleadings—for all Defendants—begins to run when the last Defendant is served.”).

         In the Motion, Cuban and the Mavericks make us aware of some related proceedings. First,

 they mention an “ongoing Chapter 11 bankruptcy action in the United States Bankruptcy Court for

 the Southern District of New York, Case No. 22-10943 (MEW) (‘Bankruptcy Action’), by Voyager

 Digital Holdings, Inc., Voyager Digital, Ltd., and Voyager Digital, LLC (together ‘Voyager Debtors’).”

 Motion at 2. Second, Cuban and the Mavericks cite a putative class action that was filed against two of

 the Voyager Debtors in our Court on December 24, 2021, which is pending in front of our colleague,

 Chief Judge Altonaga. See ibid. (citing Cassidy et al. v. Voyager Digital Ltd. et al., Case No. 21-cv-24441

 (CMA)). Notably, after the Bankruptcy Action was filed, “the Voyager Debtors filed a suggestion of
Case 1:22-cv-22538-RKA Document 8 Entered on FLSD Docket 08/31/2022 Page 2 of 3



 bankruptcy in Cassidy, and Chief Judge Altonaga stayed and administratively closed the case.” Ibid.

 Cassidy “remains stayed and administratively closed.” Ibid.

         Cuban and the Mavericks also tell us that the Voyager Debtors have filed a motion in the

 Bankruptcy Action “requesting the court to extend the automatic stay to this present action as well.”

 Id. at 3. That motion will be heard by the bankruptcy court on September 13, 2022. See ibid. If that

 motion is granted, “that [decision] will put this case on hold, pending the completion of the

 [Bankruptcy Action].” Ibid. If it’s denied, “this case will proceed.” Ibid. Accordingly, the Court hereby

 ORDERS and ADJUDGES as follows:

     1. The Clerk shall STAY and administratively CLOSE this case without prejudice to the parties.

         All pending deadlines are TERMINATED, and any pending motions—including the Motion

         [ECF No. 7]—are DENIED AS MOOT.

     2. After the hearing in the Bankruptcy Action on September 13, 2022, Cuban and the Mavericks

         shall file in this case any order the bankruptcy court issues in connection with that hearing.

     3. If the court in the Bankruptcy Action orders this case to remain stayed pending the completion

         of the Bankruptcy Action, then either party may move to reopen this case within thirty days

         of the completion of the Bankruptcy Action. In that scenario, the parties shall also file a Joint

         Status Report every thirty days from the date of this Order, apprising this Court of the status

         of the Bankruptcy Action. Alternatively, if the court in the Bankruptcy Action orders that this

         case may proceed, then either party may move to reopen this case within seven days of that

         order.

     4. Notwithstanding the above, the Plaintiffs shall continue to try to serve Defendant Stephen

         Ehrlich under FED. R. CIV. P. 4.




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Case 1:22-cv-22538-RKA Document 8 Entered on FLSD Docket 08/31/2022 Page 3 of 3



       DONE AND ORDERED in Miami, Florida, this 31st day of August 2022.




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                                                ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE
 cc:   counsel of record




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